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James Lo22ins

From:                              George Tenney <chefmangt722@yahoo.com>
Sent:                              Monday, May 16, 2022 8:30 AM
To:                                James Loggins
Subject:                           George Tenney


EXTERNAL SENDER
Good Morning,
     I don't know where to begin and I pray and wish everyday that I could let you all into my head and heart, then and
now, to truly see my mindset. I know I'll never be able to express my emotions and thoughts thoroughly through e-mail
or even in person. But this has been the most shameful, embarrassing, and devastating decision I've ever made in my
 life.
     I have lost so much already because of my stupidity and arrogance. I've lost friends, my career, my 401k and life's
savings that I had to use to keep up with my bills and lifestyle with kids, and much more. I'm devastated for my kids and
family that I would even do something so irresponsible and stupid, that will jeopardize their lives the most. How do I tell
my 9 year old daughter and 6 year old son that their dad messed up so bad that I won't be in their lives for
sometime? How do I tell my fiance carrying our next child that I won't be there for sometime? It's the most depressing
 situation I've put myself in.
      I let one man's rhetoric and lies bring me to a place that couldn't be more far from reality. I let media and outside
noise bring my focus away from what really matters, my family and our normal life, to a place of incorrect beliefs. I did
get caught up in all the lies and made up news going around. From politicians/celebrities in child sex rings, corruption
allegations, supposed Communism, to election fraud. I let false claims of things like this cause fear and anger inside me.
 Instead of focusing on myself and my family. I never ever planned or thought to be in The Capitol building that day, but I
let my emotions and following of a mob style mindset get the best of me. It was out of fear and thoughts of standing up
to those lies being pushed by certain media and the President at the time. It most certainly was not out of want to hurt
or destroy or cause any harm to anyone, or the democratic process. I was there to protest those things I thought was
true. I realize how wrong I was and how damaging my actions were to society. I take responsibility in my awful actions
and know that protesting is one thing, and possibly ok, but what I ended up being involved in was much more than
protest, and not at all what I feel America stands for and what we all have rights to do. The more I think back on that
day and how I got that far off from reality makes me more depressed and saddened then anything, that I was so stupid
enough to let all these crazy claims bring me to do something like that. It's like I just spiraled out of control letting
myself be distracted by all the wrong things. It was totally out of character and I know how wrong I was.
    Since then I have tried everyday to bring some sort of normalcy back to my life. I have tried to get another job in the
field I was in but have learned I will not get hired by a corporation like that again because of my bad decision and future
consequences. I have a job at a restaurant now and work as much as possible to keep afloat in life. All I care to do now
is spend every minute possible with my kids and family. I have put them in the forefront of everything and have shifted
all my focus to family and doing right in life. I have never prayed so much before, I have never tried harder to be the
father figure and mentor to my kids than I do now. I do not watch any news or politics, along with not following
anything on social media or anywhere online. I have come to realize that you cannot believe what you're told or hear,
that anything can be found or heard in these places, and it will only detour you from what's reality and important. I do
not drink or smoke or do anything anymore that takes away from a clear happier mind and life. I no longer play in a band
which caused me to be out at bars late at night and hindering the time and attention my family needed, nor do I have
any desire to be at a place like that now. I no longer look to selfish activities or hobbies as a way to "get away" from my
only responsibilities, my family. I have always had and still do have upmost respect for police and bureaucratic officials.
    I live in hope now, hope that I can make this right to the ones that matter. Hope that I can overcome the wrong I have
done with as much right I can do as possible. I struggle everyday with self hate and despair because of my actions, but I
know I have to pay for my actions and do my best to do what's right now and be the best person I can be to society,
family, and faith. It's hard for me to say that this has been the biggest eye opener for me that changed how I look at life
and to know what really matters now, because I know it was the worst possible decision I could've made to make me
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